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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION




 DONNA CURLING, ET AL.,
                                               DECLARATION OF DONNA A.
 Plaintiffs,
                                               CURLING IN SUPPORT OF
                                               CURLING PLAINTIFFS’
 v.
                                               MOTION FOR PRELIMINARY
                                               INJUNCTION
 BRAD RAFFENSPERGER, ET AL.,
 Defendants.
                                               Civil Action No. 1:17-CV-2989-AT


         DONNA A. CURLING, declares, under penalty of perjury, pursuant to 28

U.S.C. § 1746, that the following is true and correct:

         1.   My name is Donna A. Curling. I am an elector of the State of Georgia

and a resident of Fulton County. I have personal knowledge of the facts in this

declaration and, if called to testify as a witness, I would testify under oath to these

facts.

         2.   I hereby incorporate my previous declarations as filed in this case as if

fully restated verbatim herein.

         3.   I am currently registered to vote in Roswell, Georgia.

         4.   I intend to vote in all future elections for which I am eligible—

including in the upcoming November 3, 2020 presidential elections.
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      5.        As the legislative liaison for Georgians for Verified Voting (“GAVV”).

I am active in voter protection activities and have become familiar with Georgia’s

current and past election systems, including the election system currently being

implemented by Dominion Voting Systems, Inc. (“Dominion”) and selected by the

Georgia Secretary of State’s office (the “Election System”).

      6.        If Georgia conducts future elections on the Election System, I will be

forced to vote on a system that I do not believe will count my vote equally and fully,

or to jump through additional bureaucratic hoops to vote using an absentee paper

ballot, including requesting an absentee ballot by mail. I have described the onerous

burdens and risks of voting using a paper absentee ballot by mail in my previous

declarations.

      7.        Nevertheless, given what I have learned in my work with GAVV and

through discovery in this lawsuit, I intend to attempt (again) to vote absentee using

a paper ballot in future elections. Until Georgia replaces the unverifiable voting

machines used in the Election System, I will not cast my vote on those machines, as

I have no confidence that they will accurately record, transmit, and count my vote.

      8.        Were the Court to order that Georgia cannot implement and use the

Election System, but must instead use hand-marked paper ballots, which a voter can




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review to verify that her votes are cast as intended and will be counted as cast, I

would perceive less risk in casting my ballot in-person.

      I declare under penalty of the perjury laws of the State of Georgia and the

United States that the foregoing is true and correct and that this declaration was

executed this 19th day of August, 2020, in Roswell, Georgia.




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